Case: 1:19-cv-00247-SJD-SKB Doc #: 1-1 Filed: 04/04/19 Page: 1 of 8 PAGEID #: 7

                                                                          Service of Process
                                                                          Transmittal
                                                                          03/07/2019
                                                                          CT Log Number 535049050
 TO:     Kim Lundy Service of Process, Legal Support Supervisor
         Walmart Inc.
         702 SW 8th St, MS#0215
         Bentonville, AR 72716-6209

 RE:     Process Served in Ohio

 FOR:    Walmart Inc. (Domestic State: DE)




 ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

 TITLE OF ACTION:                  Brown Teresa, Pltf. vs. Walmart, Inc. and Ohio Department of Medicaid, Dfts.
 DOCUMENT(S) SERVED:               Summons, Attachment(s), Complaint
 COURT/AGENCY:                     Hamilton County Court of Common Pleas, OH
                                   Case # A1901092
 NATURE OF ACTION:                 Personal Injury - Failure to Maintain Premises in a Safe Condition - 07/06/2018 -
                                   Walmart Store, 8451 Colerain Avenue, Cincinnati, Hamilton County, OH 45239
 ON WHOM PROCESS WAS SERVED:       C T Corporation System, Columbus, OH
 DATE AND HOUR OF SERVICE:         By Certified Mail on 03/07/2019 postmarked: "Not Post Marked"
 JURISDICTION SERVED :             Ohio
 APPEARANCE OR ANSWER DUE:         Within 28 days after service, exclusive of the day of service
 ATTORNEY(S) / SENDER(S):          Michael D. Weisensel
                                   Law Offices o fBlake R. Maislin, LLC
                                   2215 Arbor Blvd.
                                   Moraine, OH 45439
                                   937-444-4444
 ACTION ITEMS:                     CT has retained the current log, Retain Date: 03/07/2019, Expected Purge Date:
                                   03/12/2019

                                   Image SOP

                                   Email Notification, Kim Lundy Service of Process ctlawsuits@walmartlegal.com

 SIGNED:                           C T Corporation System
 ADDRESS:                          4400 Easton Commons Way
                                   Suite 125
                                   Columbus, OH 43219
 TELEPHONE:                        617-531-5859




                                                                          Page 1 of 1 / JR
                                                                          Information displayed on this transmittal is for CT
                                                                          Corporation's record keeping purposes only and is provided to
                                                                          the recipient for quick reference. This information does not
                                                                          constitute a legal opinion as to the nature of action, the
                                                                          amount of damages, the answer date, or any information
                                                                          contained in the documents themselves. Recipient is
                                                                          responsible for interpreting said documents and for taking
                                                                          appropriate action. Signatures on certified mail receipts
                                                                          confirm receipt of package only, not contents.
AFTAB PUREVAL               Case: 1:19-cv-00247-SJD-SKB Doc #: 1-1 Filed: 04/04/19 Page: 2 of 8 PAGEID #: 8   neooosbtJ          FIRST-CLASS MAIL
1000 MAIN STREET ROOM 315
                                                                                                                             $006,252
CINCINNATI OH 45202
COMMON PLEAS CIVIL
A 1901092 D 1
                                CERT/F/ED MA/L                                                                USiaOS.TA^GE

                                                                                                                                   ZIP 45202
                                                                                                                                 041L12203304




                                              *
                                                     51LA L31D DfifiS ISO*)




                                                  03/04/2019 SUMMONS & COMPLAINT
                                                  WALMART INC
                                                  CT CORPORATION SYSTEM
                                                  4400 EASTON COMMONS WAY STE 125
                                                  COLUMBUS OH 43219




                                                                                                                             P
  Case: 1:19-cv-00247-SJD-SKB Doc #: 1-1 Filed: 04/04/19 Page: 3 of 8 PAGEID #: 9

                                                                        COPY

                            COURT OF COMMON PLEAS
                            HAMILTON COUNTY, OHIO



TERESA BROWN
    PLAINTIFF
                                                                Use below number on
                                                                all future pleadings
       -- vs -“
                                                          NO.   A 1901092
                                                                   SUMMONS
WALMART INC
     DEFENDANT

     WALMART INC
     CT CORPORATION SYSTEM                       D- 1
     4400 EASTON COMMONS WAY STE 125
     COLUMBUS OH 43219


You are notified
that you have been named Defendant(s) in a complaint filed by
     TERESA BROWN
     5904 MEYERS DRIVE
     CINCINNATI OH 45215

                                                                    Plaintiff(s)
in the Hamilton County, COMMON PLEAS CIVIL Division,
AFTAB PUREVAL, 1000 MAIN STREET ROOM 315,
CINCINNATI, OH 45202.
You are hereby summoned and required to serve upon the plaintiff's
attorney, or upon the plaintiff, if he/she has no attorney of record, a
copy of an answer to the complaint within twenty-eight (28) days after
service of this summons on you, exclusive of the day of service. Your
answer must be filed with the Court within three (3) days after the
service of a copy of the answer on the plaintiff's attorney.
Further, pursuant to Local Rule 10 of Hamilton County, you are also required to
file a Notification Form to receive notice of all future hearings.
If you fail to appear and defend, judgement by default will be rendered
against you for the relief demanded in the attached complaint.


Name and Address of attorney                     AFTAB PUREVAL
MICHAEL D WEISENSEL                              Clerk, Court of Common Pleas
2215 ARBOR BLVD                                     Hamilton County, Ohio
MORAINE         OH         45439

                                            By   RICK HOFMANN
                                                                         Deputy


                                            Date:       March 4, 2019



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                         AFTAB PUREVAL
                HAMILTON COUNTY CLERK OF COURTS


                               COMMON PLEAS DIVISION

                              ELECTRONICALLY FILED
                             March 1, 2019 10:11 AM
                                  AFTAB PUREVAL
                                 Clerk of Courts
                             Hamilton County, Ohio
                               CONFIRMATION 822945


            TERESA BROWN                                                    A1901092
                 vs.
             WALMART INC


   FILING TYPE; INITIAL FILING (IN COUNTY) WITH NO JURY
                          DEMAND
                                        PAGES FILED: 4




                                                   EFR200




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                                      IN THE COURT OF COMMON PLEAS
                                          HAMILTON COUNTY, OHIO

          TERESA BROWN                                         Case No.:
          5904 Meyers Drive
          Cincinnati, Ohio 45215
                                                               (Judge:      )
                                 PlaintifT,
                                                               COMPLAINT
          vs.

          WALMART, INC.
          8451 Colerain Avenue
          Cincinnati, Ohio 45239

                 Please Serve Statutory Agent:
                 CT Corporation System
                 4400 Easton Commons Way
                 Suite 125
                 Columbus, Ohio 43219

          and

          OHIO DEPARTMENT OF MEDICAID
          Please Serve:
          Joseph McCandlish, Esq.
          150 E. Gay Street, 21®‘ Floor
          Columbus, Ohio 43215

                                 Defendants.

                 Now comes Plaintiff, by and through counsel, and as and for her Complaint against

          Defendants states as follows:

                 1.       Plaintiff Teresa Brown resides at 5904 Meyers Drive, Cincinnati, Hamilton County,

          Ohio 45215, and has so resided at all times relevant herein.

                 2.       Defendant Walmart, Inc. is a corporation authorized to do business in Hamilton

          County Ohio with a store at 8451 Colerain Avenue, Cincinnati, Hamilton County, Ohio 45239.

                 3.       All occurrences, which form the basis of this complaint, occurred within Hamilton

          County, Ohio.




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                                                        COUNT ONE

                 4.      Plainti^ incorporates by reference paragraphs one through three as though fully

          rewritten herein.

                 5.      On or about July 6,2018, Plaintiff Teresa Brown was a lawful invitee at Defendant

          Walmart, Inc.*s store at 8451 Colerain Avenue when a shelving unit slid and/or collapsed and

          struck her in the head.

                 6.      Defendant Walmart, Inc. had a duty to Plaintiff and the public in general to

          maintain its premises in a safe condition and to warn its business invitees of latent or concealed

          defects, of which it knew or should have known.

                 7.      Defendant Walmart, Inc. failed to make safe or warn the Plaintiff about a latent or

          concealed defect in their store which they knew or should have known existed.

                 8.      Defendant Walmart, Inc. caused the dangerous condition with the shelf that slid

          and/or collapsed and injured the Plaintiff.

                 9.      Defendant Walmart, Inc. breached their duties owed to Plaintiff Teresa Brown in

          that: (a) they knew or should have known the subject shelving was unsafe and dangerous and, (b)

          they failed to warn the Plaintiff and/or remedy the unsafe and dangerous shelving.

                 10.     As a direct and proximate result of the Defendant Walmart Inc.’s negligence.

          Plaintiff Teresa Brown has sustained severe and permanent injuries and has incurred medical

          expenses and shall continue to incur medical expenses in the future with reasonable medical

          certainty; Plaintiff Teresa Brown has suffered lost wages and shall continue to do so in the future

          with reasonable certainty; and Plaintiff Teresa Brown has further sustained past pain and suffering

          and will continue to do so in the future with reasonable medical certainty.




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                                                       COUNT TWO

                  11.     Plaintiff hereby incorporates by reference paragraphs one through ten as though

          fully rewritten herein.

                  12.     Plaintiff had health insurance with Defendant Ohio Department of Medicaid on the

          date of the above-described incident.

                  13.     As a result of the above-described accident. Defendant Ohio Department of

          Medicaid should pay, did pay or may have paid some of Plaintiff Teresa Brown's medical bills

          from the instant accident.

                  14.     Defendant Ohio Department of Medicaid is or may be subrogated to a portion of

          the Plaintiffs claims against Defendant Walmart, Inc. and should be required to continue to pay

          their obligation and/or assert their interests or otherwise be forever barred from doing so as to any

          party hereto.

                  15.     Plaintiff demands that Ohio Department of Medicaid pay Plaintiffs medical bills

          and/or assert any interest said Defendant may have in the instant manner or otherwise be forever

          barred in doing so as to any party hereto.

                 WHEREFORE, Plaintiff Teresa Brown prays for judgment against Defendant Walmart,

          Inc. in an amount yet to be determined but in excess of Twenty-Five Thousand Dollars

          ($25,000.00), as and for compensatory damages; Plaintiff Teresa Brown prays that Defendant

          Ohio Department of Medicaid be required to assert any interest said Defendant may have in the

          instant matter or otherwise be forever barred from doing so as to any party hereto; and Plaintiff

          Teresa Brown fiirther prays for all relief to which she may be entitled at law and/or equity.

          including pre-judgment interest.




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                                                       Respectfully submitte(^



                                                       Michael D. Weisensel (0067660)
                                                       Attorney for Plaintiff
                                                       Law Offices of Blake R. Maislin, LLC
                                                       2215 Arbor Blvd.
                                                       Moraine, Ohio 45439
                                                       Telephone: (937)444-4444
                                                       Fax: (937)640-3042
                                                       mweisensel@maisliDlaw.com


                                          INSTRUCTIONS TO CLERK

                 Please serve the Complaint on all Defendant(s) at the addresses identified in the caption.




                                                              Michael D. Weisensel, Esq. (0067660)




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